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Attorneys for Wells Fargo Insurance Services USA, Inc.

                          IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF ALASKA

FAMILY OUTREACH CENTER FOR                                     )
UNDERSTANDING SPECIAL NEEDS,                                   )
INC. dba FOCUS, INC.; CRAIG ROSE                               )
and JENNIFER ROSE, Individually, and                           )
on behalf of their minor children, M.R and                     )
K.R.,                                                          )
                                                               )
                           Plaintiffs,                         )
                                                               )
v.                                                             )        United States District Court
                                                               )        Case No. 3:13-cv-________
WELLS FARGO INSURANCE SERVICES                                 )
USA, INC., DOE AGENTS 1-10, and DOE                            )
CORPORATIONS 11-20,                                            )        Superior Court Case No.
                                                               )        3AN-13-08411 CI
                           Defendants.                         )
                                                               )

                                         NOTICE OF REMOVAL

To:      FOCUS, Inc., Craig Rose, and Jennifer Rose
         c/o Jon Buchholdt
         Jon Buchholdt Law
         731 I Street
         Anchorage, AK 99501


Notice of Removal
Focus, Inc., et al. v. Wells Fargo Ins. Services USA, Inc., et al., Case No. 3:13-cv- ____________
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                  Pursuant to 28 U.S.C. §§ 1441 and 1446, defendant Wells Fargo Insurance

Services USA, Inc. (“WFIS”), by and through its attorneys, Guess & Rudd P.C., hereby

removes to this court the state court action described below.

                                              I.       Introduction

                  On July 23, 2013, Family Outreach Center for Understanding Special

Needs, Inc. d/b/a FOCUS, Inc. (“Focus”) and Craig and Jennifer Rose, Individually and

on behalf of their minor children, M.R. and K.R., (collectively, “plaintiffs”) filed, but did

not serve on WFIS, a Complaint in the Superior Court for the Third Judicial District at

Anchorage, Alaska, naming as defendants Acordia of Alaska, Inc., Wells Fargo Insurance

Services of Alaska, Inc., WFIS, and 20 fictitious “Doe” parties: “Doe Agents 1-10” and

“Doe Corporations 11-20”. Then, on August 9, plaintiffs served on WFIS, but did not

file with the state court, an Amended Complaint for Damages naming the same

defendants. Finally, on August 22, plaintiffs served on WFIS a Second Amended

Complaint for Damages, naming only WFIS and the 20 “Doe” parties as defendants.

Plaintiffs filed their Second Amended Complaint with the state court on August 27. The

Second Amended Complaint is captioned FOCUS for Understanding Special Needs, Inc.,

et al. v. Wells Fargo Insurance Services USA, Inc., et al., Case No. 3AN-13-08411 CI.

                  The Second Amended Complaint alleges, among other things, that WFIS

failed to properly advise Focus regarding insurance coverage for sexual abuse and/or

molestation, that a Focus employee sexually molested the Roses’ minor children, that

Focus “had to pay the Roses $200,000 because the sexual abuse and/or molestation


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liability insurance [WFIS] sold Focus did not provide sufficient coverage for sexual

abuse claims,” and that “[t]he Roses were unable to recover adequately against Focus

because of the insufficient insurance which [WFIS] sold to Focus.” 1

                  This court has jurisdiction pursuant to 28 U.S.C. § 1332. There is complete

diversity as between plaintiffs and the only named defendant, WFIS, and the amount in

controversy exceeds the sum of $75,000, exclusive of interest and costs.

                  Pursuant to 28 U.S.C. § 1446, WFIS (1) has attached as Exhibit A to this

Notice of Removal a copy of the Second Amended Complaint, (2) has filed this Notice of

Removal within thirty days after receipt the amended pleading from which it could first

ascertain that the case is one which has become removable (i.e., the Second Amended

Complaint), and (3) will promptly give written notice of this Notice of Removal to

plaintiffs and file a copy of this Notice of Removal with the clerk of the Superior Court

for the Third Judicial District at Anchorage.

                                               II.      Argument

                  A.       The Amount in Controversy Exceeds $75,000

                  As noted above, plaintiffs allege that Focus “had to pay the Roses $200,000

because the sexual abuse and/or molestation liability insurance [WFIS] sold Focus did

not provide sufficient coverage for sexual abuse claims” and that “[t]he Roses were

unable to recover adequately against Focus because of the insufficient insurance which




1
    See Exhibit A, Second Amended Complaint ¶¶ 10, 35, 43.

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[WFIS] sold to Focus.” 2 Therefore, while plaintiffs did not demand a specific amount of

damages in the Prayer for Relief in their Second Amended Complaint, there is no

question that the amount in controversy is at least $200,000, plus whatever amount the

Roses seek. The $75,000 amount in controversy requirement is satisfied.

                    B.     Complete Diversity Exists As to All Named Parties

                    As of the filing of the Second Amended Complaint, there exists complete

diversity of citizenship between the named parties. The Second Amended Complaint

alleges that Focus is an Alaska corporation and that the Roses are Alaska residents. The

only named defendant, WFIS, is a North Carolina corporation with its principal place of

business in Illinois. As such, WFIS is a citizen of North Carolina and Illinois for

purposes of 28 U.S.C. § 1332.

                    The Second Amended Complaint also names as defendants “Doe Agents 1-

10” and “Doe Corporations 11-20.” Plaintiffs do not allege the citizenship of “Doe

Corporations 11-20,” but they allege that “Doe Agents 1-10” are “insurance agents

involved in the sale of the insurance policy at issue to Focus” and “residents of the State

of Alaska.” 3 However, 28 U.S.C. § 1441(b)(1) provides, “In determining whether a civil

action is removable on the basis of the jurisdiction under section 1332(a) of this title, the

citizenship of defendants sued under fictitious names shall be disregarded.” Therefore,




2
    Id.
3
    Id. at ¶4.

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the citizenship of the “Doe” defendants must be disregarded. This action is removable on

the basis of diversity of citizenship.

                  C.       This Notice of Removal Is Timely Filed

                  Under 28 U.S.C. § 1441(b)(3), “if the case stated by the initial pleading is

not removable, a notice of removal may be filed within thirty days after receipt by the

defendant, through service or otherwise, of a copy of an amended pleading, motion, order

or other paper from which it may first be ascertained that the case is one which is or has

become removable.” (Emphasis added). Here, plaintiffs’ original Complaint, which they

filed in state court on July 23, was not removable. It named as defendants Acordia of

Alaska, Inc. and Wells Fargo Insurance Services of Alaska, Inc., two former Alaska

corporations that merged into WFIS before the events underlying this case. For the same

reason, plaintiffs’ Amended Complaint, which named the same defendants, was not

removable.

                  The Second Amended Complaint, on the other hand, does not name

Acordia of Alaska, Inc. or Wells Fargo Insurances Services of Alaska, Inc. It names only

WFIS and the 20 “Doe” defendants.                 Because the Second Amended Complaint made

this case removable, and because plaintiffs did not serve the Second Amended Complaint

on WFIS until August 22, this Notice of Removal is timely under 28 U.S.C. § 1441(b)(3).




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                                              III.     Conclusion

                  Because the substantive requirements of federal diversity jurisdiction have

been fully satisfied, WFIS respectfully requests that this court assume full jurisdiction

over this action.

                  DATED at Anchorage, Alaska, this 6th day of September, 2013.

                                                      GUESS & RUDD P.C.
                                                      Attorneys for Wells Fargo Insurance
                                                      Services USA, Inc.


                                                      By:            /s Gary A. Zipkin
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                                                               Alaska Bar No. 7505048

CERTIFICATE OF SERVICE
I hereby certify that on the 6th day of
September, 2013, a copy of the foregoing document
was mailed to :

Jon Buchholdt, Esq.
Jon Buchholdt Law
731 I Street
Anchorage, AK 99501

Michael A. Patterson, Esq.
Donald F. Austin, Esq.
Patterson Buchanann Fobes & Leitch, Inc.
2112 Third Avenue, Suite 500
Seattle, WA 98121

Guess & Rudd, P.C.


By: s/ Gary A. Zipkin
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